 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 1 of 25

In The

United States District Court
Northern District of Florida

WALT DISNEY RESORTS & PARKS, Number: 4:23-cv-00163-MW-MAF
PLAINTIFF,
V.

RONALD DESANTIS, ET AL,

DEFENDANTS.

New Nem ee

VERIFIED MOTION TO INTERVENE

and
Ex Parte Motion for Temporary Restraining Order

NOW COMES, Scott Huminski (“Huminski”), and, under oath, swears, states, deposes
and moves to intervene pursuant to F.R.C.P. 24 and for an ex parte restraining order as follows:

Introduction

e Both Huminski and the Plaintiff suffer(ed) extreme governmental retaliation for the content
of core protected political First Amendment speech critical of government. See Generally
Complaint.

e Huminski was prohibited from any and all communication with the entire State of Florida
government, for life, in a court gag order retaliating for his core protected political

expression in State of Florida v. Huminski, 17-MM-815, to wit;

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e In 2021 and 2022 DeSantis aided by Ashley Moody, Esq. obsessively fought to
preserve, maintain and continue to enforce the above gag order in violation of

Huminski’s First Amendment rights in 2 State Court matters in the Florida 11" Judicial

 

 
 

 

 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 2 of 25
Circuit and the Third District Court of Appeal.

A central gravamen of the Complaint below is that Ronald DeSantis (“DeSantis”)
engages in a systemic procedure, policy, custom or practice of silencing First
Amendment speech via the use of notorious discriminatory tactics targeting speech of
those of a specific viewpoint such as the Plaintiff and Huminski, both staunch critics of
policies of the Florida Governor and police state. In the case at Bar, one of those
viewpoints is that residents/citizens of Florida have the right to freedom of speech absent
the fear of governmental retaliation or viewpoint discrimination based upon a criteria
such as the content of speech or, more succinctly, speech with content that discusses
topics that the government is uncomfortable with, such as, what Plaintiff below and
Huminski consider unconstitutional and oppressive conduct of Ronald Desantis and other
government actors. The targeted speech of Disney and Huminski is core protected political
expression contradictory to the positions of Mr. DeSantis and Huminski has had a long

history of journalism related to what he perceives as police state tactics and oppression.

In retaliation for Huminski’s anti-Police-State First Amendment core protected political
expression, Ronald DeSantis engaged in the following retaliatory conduct:

* In 2021 and 2022 Ronald DeSantis engaged in a course of conduct in the
Florida State courts that sought to silence any and all communication by
Huminski with the entire State of Florida government for life that was
preceded by the following patently illegal/unconstitutional deeds which
DeSantis sought to make permanent along with the perpetual speech
prohibition foisted upon Huminski,

* At Huminski’s conviction in State of Florida v. Huminski, the State of Florida
insisted upon an_- order- barring Huminski from any
contact/communication with the State of Florida for life. A true and
correct copy of the final judgment/conviction order memorializing the
perpetual speech prohibition is attached hereto as Exhibit “A”. Although
Huminski’s final judgment was characterized as a criminal conviction, the
case was sui generis common law contempt arising in Huminski_v. Gilbert,
17-ca-421 and the record in the case does not have one mention of a statutory

misdemeanor nor felony in the 2407 page record. See entire case record at,

 
 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 3 of 25
https://edca.2dca.org/DcaDocs/2019/1914/2019-1914 Brief 530010 RCO09.pdf
The true and correct speech prohibition (the “Gag Order”) excerpted below
from the final judgment in State v. Huminski, 17-mm-815, championed by
DeSantis in 2021 and 2022 specified no communication by a resident of the
State, Huminski, with/to the entire State of Florida government — FOR LIFE.

A bit over-broad considering the “parties” (The State of Florida).

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“Defense motion for mistrial - denied; Motion to Dismiss - denied; Any future filings
are to be under the signature of a licensed attorney; No communication with the
parties in the civil or criminal cases" (emphasis added)

3. In 2021 and 2022 State court litigation in the 11" Judicial Circuit and the 3” District
Court of Appeal, Defendant DeSantis conspired with Florida Attorney General Ashley
Moody to make the lifetime speech prohibition set forth in the prior paragraph
permanent. This conduct appears to violate 18 U.S.C.§§ 241, 242, criminal statutes that
can not be prosecuted by Huminski nor Plaintiff, nevertheless, indicators of how far the
government is willing to go to silence speech. Title 18 is enforced by the Department of
Justice.

4. The Gag Order prior restraint prohibits the service of this paper upon attorneys employed
by the State of Florida and the Florida Attorney General’s office constituting Obstruction
of Justice and other related federal crimes which is truly and factually set forth at,
https://cdn.muckrock.com/outbound_composer_attachments/s_huminski%40live.com/
121109/desantis obstruction complaint.pdf (clickable supportive links included) and
attached hereto as Exhibit “B”. Crimes can not be prosecuted in this matter, however, the
Court may invoke its contempt powers to address the Gag Order’s implicit and obvious
threat against service in this matter. Huminski uses muckrock.com in support of his
reportorial activities. Muckrock assists journalists in FOIA requests.

5. Since the entry of the Gag Order in 2018, it has obstructed service upon the State of

Florida and Florida’s employees, agents, representatives and attorneys in multiple State

 
 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 4 of 25

and Federal court matters in violation of the First Amendment and in violation of Federal
and State criminal laws related to obstruction of justice which can not be prosecuted in
this context. See generally Exhibit “B”.

. The plain language of the gag order prohibits the service upon all State of Florida entities
with this paper including the Governor who obsessively protected the gag order in State
Court litigation in 2021 and 2022 with the aid of Attorney General Ashley Moody.

. Huminski did not only suffer the same First Amendment viewpoint based discrimination
as the Plaintiff — he was incarcerated for his speech “crime”. Defendant DeSantis fought
vigorously to maintain the Gag Order in 2021 and 2022 in State courts.

. The Gag Order included in the final judgment conviction in State y. Huminski, in the best
light, was a sui generis common law case — contempt, whereby, only the allegedly
offended Court has the ability to hear and conduct a trial (i.e. only the 20" Circuit Court
had subject matter jurisdiction to hear contempt in Huminski v. Town of Gilbert, Et al.,

 

17-CA-421, not a County Court criminal case captioned as State v. Huminki). See
Huminski_y. State, 2d19-1247 (FL 2 DCA 2019) (hearing contempt private to the
allegedly offended Court). See Generally, South Dade Farms v. Peters, 88 So. 2d 891
(Fla. 1956) (Approvingly quoting “ ... without referring the issues of fact or law
{concerning contempt] to another tribunal or to a jury in the same tribunal....”, Bessette v.
W.B. Conkey Co., 194 U.S. 324 337, 24S. Ct. 665, 48 L.Ed. [997] 1005.). If a court
enters an order prior to the filing of proper pleadings, the court lacks jurisdiction (i.e. the
charging document in State v. Huminski, did not list the State as a Plaintiff nor was it
signed by a State prosecutorial authority nor did it specify a criminal statute). Lovett v.
Lovett, 93 Fla. 611, 112 So. 768, 775-76 (1927). Despite the lack of personal jurisdiction
(no service in State vy. Huminski) and no subject matter jurisdiction, Defendant DeSantis
chose to conspire with Ashley Moody, Esq. to assure that Huminski was prejudiced with
the void ab initio perpetual speech prohibition and criminal conviction for life in

contravention of the United States Constitution.

. Huminski’s long-time labeling of Florida as a Police State is not far from reality when
criminal prosecutions commence absent the participation of the State, without service and
proceed to judgment in the absence of any and all jurisdiction and banish all
communication with the entire State of Florida government for life. What notoriously
corrupt entity filed the commencement document in State v. Huminski remains a mystery

although the forgery of the County Court charging document was accomplished by

 
 

 

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Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 5 of 25

Assistant State’s Attorney Anthony Kunasek (suicide 2022 related to these issues) and
the paper contains no signature of an attorney representing the State of Florida, yet, a
criminal conviction stands to this day per se prejudicing Huminski. Ronald DeSantis has
done his very best to engage in conduct in other fora to cover-up the patently illegal and
unconstitutional conduct foisted upon Huminski set forth in material herein and this
conduct proximately caused the suicide of State prosecutor Anthony Kunasek, Esq. who
forged, but did not sign, the charging document in State v. Huminski. The suicide
occurred 30 days after the issue was brought to the attention of the federal courts in
Equality Florida v. DeSantis (USDC, Northern District of Florida). Nothing seems to

shock the consciousness in a police state pursuing an agenda of silencing dissent.

Defendant DeSantis has directed his attorney general to obsessively oppose any attempt
by Huminski regarding a collateral attack upon State _v. Huminski or any attempt to
vindicate his rights related to State v. Huminski in bad faith and with unclean hands on
the part of the State of Florida concerning their securing of a lifetime speech prohibition
and criminal conviction absent their authoring of a commencement document and absent
service in State vy. Huminski and absent a criminal statute and with the perpetual

governmental speech banishment(s) on the record in that matter.

Ronald DeSantis, did direct his Attorney General to use any and all methods to continue
the First Amendment prohibitions foisted upon Huminski in State v. Huminski on or
about September 1, 2021 and also directed his Attorney general to assure Huminski’s
lifetime speech prohibition and criminal misdemeanor conviction for sui generis common
law contempt stands and prejudices him for life despite the absence of a criminal statute
that Huminski allegedly violated mentioned anywhere in the entire court record in the

case.

F.S. 900.04 does not define a violation of the criminal codes of Florida and it does not
define a statutory misdemeanor nor felony. See a true and correct docket excerpt
describing Huminski’s “criminal misdemeanor” conviction intending to silence speech in

perpetuity with the Gag Order that is featured in the final judgment order,

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 6 of 25

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“No Charge — No Level” above is not consistent with the violation of a criminal statute

suggesting that the State v. Huminski and the Gag Order therein was a sham and fraud.

13. No procedure, statute, law or authority exists that converts alleged sui generis common
law contempt arising in Huminski_v. Gilbert, 17-CA-421, 20" Circuit Court, into a
County Court case entitled State _v. Huminski, 17-MM-815, that DeSantis fought to
maintain and protect in 2021 and 2022. See true and corrct excerpt from the Florida
Attorney General’s brief in Huminski v. State, 2D19-1914, 2/21/2020 authored by Ashley
Moody, Esq./Chelsea Simms, Esq. also below,

Issue 4: Appellee concedes that imposition of the cost of prosecution was
improper because contempt is a common law crime and the statutes governing

contempt do not explicitly allow for the cost of prosecution to be imposed.

The term “crime” is misleading because all Florida authority and United States case law

define contempt as sui generis, neither a statutory misdemeanor nor felony.

 
 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 7 of 25

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! A mm VS
IN THE GIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR
LEE COUNTY, FLORIDA CIVIL ACTION
{
Huminski, Scott Case No: 17-CA-000421
wn Date: June 29, 2017
Town of Gilbert AZ et al Judge: Elizabeth V Krier
Defen Deputy Clerk: Brenda Horton
Court Reporter:
MIN
Attomey fog Plaintiff: Kevin Sarlo Present [_] Not Present
Attorney for Defendant: Anthony Kunasck Present (_] Not Present
|
Hearing Information:

é

SHOW CAUSE / ARRAIGNMENT PROCEEDING:

 

-Plea of Not Guilty Entered

-CMC sc

led on 8/15/17 at 1:00 for 10 minutes

-CMC is set to review how the State is proceeding with the case and at that

Point we

can schedule future hearings. Also to be discussed transfer case

From civil to criminal
-Pretrial release without bond / Conditions: Mr. Huminski is to check in with
Pretrial officer every 2 weeks, along with the condition to not violate anymore

 

 

Orders. Only Mr. Huminski’s PD or licensed attorney may contact the courts.

 

__He must
Whoever han

6/30/2017,

 

hot contact the courts or Sheriff's Department by email

d-wrote “17-MM-815” on this order and on a forged show cause order filed on

CIVIL CASE CAPTION

SCOTT HUMINSK!, CWwil Case No.: 17CA421
Plaintiff

v.

TOWN OF Gilbert, AZ, et al

Criminal Case No. | } * mM Vv ~ OOOSI 5

and filed it engaged in felony forgery/official misconduct by modifying a Circuit Court order

of 6/5/2017 and filing the modified order in a completely different court. Guilty or “not

guilty” pleas

are not entered in sui generis common law cases, nor is pre-trial supervision,

nor is an arraignment. Arraignments apply only in statutory felony or misdemeanor cases.

Upon information and belief, identifying the handwriting “17 mm 815” and in the 2 above

true and record correct excerpts is a minor and routine law enforcement inquiry and such an

inquiry will 1

ead to the persons involved in the forgery along with the late prosecutor Mr.

 
 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 8 of 25

Kunasek. DeSantis was intimately familiar with the above court order forgeries set forth in

State Court cases in 2021 and 2022 whereby he was a defendant.

14. The caption in the prior paragraph minute excerpt is absolutely true and correct and

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lawful, Huminski v. Gilbert, 17-CV-421. The State of Florida was never a proper party
and no court paper exists commencing State v. Huminski that suggests otherwise. Three
days prior to the so-called arraignment, Huminski v. Gilbert was removed to United
States Bankruptcy Court (Huminski v Gilbert, 2:17-ap-00509-FMD, 6/26/2017) including
the contempt allegations therein — not even federal removal can stop the charging
rhinoceros of the Florida police state. The Notice of Removal was filed in both the State
and U.S. Bankruptcy Court 3 days prior to the so-called “arraignment” and the judge was
verbally notified at the hearing and the U.S. Bankruptcy Judge Caryl Delano confirmed
her jurisdiction at a later hearing in her Court. The presiding Judge at the “arraignment”
outright refused to recognize the jurisdiction of the federal courts over the removed
matter. Anything goes when silencing dissent in Florida and federal law including the
Supremacy Clause appears to be a nuisance that is meaningless in State courts when the

government is seeking to silence dissent and an un-favored speaker.

The State filed no paper placing itself in the position of plaintiff in any case involving
Huminski. The initiation of State v. Huminski was fraudulent, corrupt, absent a criminal
statute and absent a State’s charging document listing the State as a Plaintiff and this
scenario was advanced and supported by DeSantis and Ashley Moody in 2021 and 2022
to further obstruction of service in multiple State and Federal court matters including the

instant matter.

Mr. DeSantis did engage in conduct in 2021 and 2022 attempting to legitimize and cover-
up the aforementioned crimes and prosecutorial misconduct and to breathe life into a
hopelessly void ab initio criminal judgment that silenced core protected political
expression — for life — and failed to remove the State’s Attorney engaging in the content
herein. Mr. DeSantis also failed to remove the supervising Chief Assistant State’s
Attorney in charge of State v. Huminski, Amira Fox, Esq.. Amira Fox is now the 20"
Circuit State’s Attorney and can be prosecuted for felony official misconduct to this day
for her involvement, guidance and supervision in State v. Huminski, a continuing criminal

offense and an offense that can be prosecuted for up to 2 years after Ms. Fox leaves

 
 

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Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 9 of 25

employment with the State.

The motivations of Ronald DeSantis related to Huminski’s set of facts boils down to the
silencing of dissent and core protected political expression that is protected at an elevated
level and to provide a favor to a crony, State’s Attorney Amira Fox. The perpetual speech
prohibitions foisted upon Huminski are absolute as far as speech directed to the
government of the State of Florida as ordered by the County Court in State y. Huminski at
judgment/conviction and embraced by DeSantis. The speech prohibitions foisted upon
the Plaintiff are similar without the formal issuance of a final injunctive court gag order

as in Huminski’s scenario.

Mr. DeSantis chose to retaliate against a State prosecutor Andrew Warren for engaging in
core protected political expression while at the same time he was endeavoring to protect
prosecutors involved in forgery of court orders and First Amendment deprivations in
State vy. Huminski and cover-up the crimes and torts of these rogue prosecutors instead of
removing them from office. Mr. Warren is known as a progressive prosecutor while the
prosecutor’s involved in the forgery of a County Court order, used to initiate State v.

Huminski, are politically affiliated with Mr. DeSantis. Upon information and belief, Mr.

 

DeSantis conducts himself based solely upon political affiliations concerning whether he
removes a prosecutor or covers-up the crimes and civil right violations of a political

ally/prosecutor.

Mr. DeSantis is a graduate of Yale and Harvard law and knows that State v. Huminski
was initiated with a forged commencement document which was central to the 2021 and
2022 State court matters mentioned above whereby he was a defendant. The nature of
the forgery was sworn to in the two State Court matters and is sworn to in this paper.
Yet, Mr. DeSantis has taken no adverse action against the far right Republican
prosecutors involved, to the contrary, he has endeavored to support the misconduct in
State Court actions and cover-up the official crime of State prosecutors — as opposed to

removing the prosecutors for on-the-job felonies.

Mr. DeSantis accepts advice, counsel and recommendations from his crony State
Attorney Amira Fox who engaged in the forgery of the “charging document” in State v.

Huminski, https://www.flgov.com/wp-content/uploads/orders/2019/EO_19-69.pdf and

 
 

 

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Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 10 of 25

Ms. Fox opined in favor of removal of Mr. Warren from office,
https://www.winknews.com/2022/08/04/desantis-suspends-state-attorney-andrew-warren-
says-hes-not-enforcing-law/ and Ms. Fox is otherwise connected to/or supportive of Mr.
DeSantis, https://www.fortmyersbeachtalk.com/202 1/06/16/desantis-sending-police-to-
mexican-border/ , https://www.naplesnews.com/story/news/crime/2020/07/01/state-
attorney-requests-complaint-against-candidate-reassigned/5355223002/ ,
https://criminaldefenseattorneytampa.com/track-your-case/state-attorneys-offices-in-
florida/ , https://www.democraticunderground.com/10142957259 . As far as the forgery
of a Court order supervised by Amira Fox, Mr. DeSantis has been reciprocally supportive
of Amira Fox in the 2 aforementioned State Court proceedings and instead of removing
her for her crimes against the justice system, he and his attorney took no action
conceming Amira Fox’s crimes and misconduct and supported the Gag Order. The
crimes targeting the Federal and State courts embodied in the Gag Order continue with

the full knowledge of Governor DeSantis.

Mr. DeSantis assigned a perjury case against his 2019 appointed sheriff of Broward
County, Gregory Tony, to his trusted ally Amira Fox who then assigned it to Anthony
Kunasek. Mr. Kunasek is the actual person who engaged in the forgery in State v.
Huminski under the guidance and supervision of Ms. Fox which eventually led to Mr.
Kunasek committing suicide in spring of 2022. These 3 individuals (DeSantis, Fox,
Kunasek) seem to work well in concert and cooperation with each other when an
appointee of Mr. DeSantis is investigated for perjury. Of Course, the Governor’s
appointee was let off the hook. It seems only right for the Governor to re-pay the favor
and not remove Amira Fox from office concerning the felony forgery/official misconduct
in State v. __ Huminski. Political favors need to be _ repaid.
https://www. floridabulldog.org/2022/04/state-attorneys-perjury-report-broward-sheriff-

tony-omitted-key-facts/ ,

https://www.miamiherald.com/news/local/crime/article257905813. htm] ;

https://www.local10.com/news/local/2022/09/14/florida-ethics-commission-finds-

probable-cause-that-broward-sheriff-tony-lied-misused-position/ ;
https://www.nbcmiami.com/news/local/ethics-commission-finds-broward-sheriff-
gregory-tony-gave-false-info-misused-position/2858217/ ; https://www.sun-
sentinel.com/opinion/commentary/fl-op-col-bousquet-sheriff-tony-outrage-700-words-

20220916-zn6ibkqbhrdhbalvcucxclpgom-story.html ;

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Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 11 of 25

https://www.pressreader.com/usa/south-florida-sun-sentinel-palm-beach-sunday/

20220918/281762748111519 .

A quid pro quo existed concerning the DeSantis appointed Broward Sheriff’s perjury

outcome from Amira Fox/Mr. Kunasek and the forgery/official misconduct in State v.

 

Huminski and Mr. DeSantis’ non-removal of Amira Fox for on-the-job felonies. Amira
Fox and Mr. Kunasek saved a DeSantis appointee from criminal prosecution and, in
return, Mr. DeSantis has not removed Amira Fox from office for her felonies targeting

the justice system. Good old-fashioned corruption by team DeSantis — Fox — Kunasek.

Mr. DeSantis hand-selected Sheriff Tony and he hand-selected Amira Fox to cover-up
the crimes/improprieties of his appointee. In 2021 and 2022, Mr. DeSantis paid back
Ms. Fox for the favor and did not remove her from office for felony misconduct despite
his knowledge of the crimes set forth in sworn court papers. Upon information and
belief, the guilt of Sheriff Tony was obvious, as obvious as the felony forgery and felony
official misconduct of Amira Fox similarly protected by Mr. DeSantis to pay back a

favor. Sheriff Tony also failed to disclose his homicide arrest in the Philadelphia area.

Upon information and belief, in 2019, the newly elected and narrowly elected new
Governor of Florida could not have an early and major appointee, the Broward County
Sheriff, being prosecuted for felony perjury and the “fix” was in by the freshman
Governor ... a favor he repaid to Amira Fox with not removing her from office for
forgery of a County Court order in State y. Huminski and felony official misconduct and
for requesting the perpetual prior restraint gag order issued upon Huminski at the request
of Amira Fox.

DeSantis has intimate knowledge of the forgeries involved in the initiation of State v._
Huminski located at pages 401-422 in the record from the 11" Judicial Circuit whereby
he was a defendant truly and correctly memorialized at,

https://edca.3dca. flcourts.org/DcaDocs/2021/1920/2021-

1920 Brief 251952 RC09202D20Record200n20A ppeal.pdf

DeSantis has intimate knowledge of the full record in State v. Huminski including the
forgeries and prior restraint gag orders located at Docket Entries 41-48 in the 11" Judicial
Circuit, Huminski v. DeSantis, et al (primary defendant State of Florida), whereby

DeSantis was a defendant.

11

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 12 of 25

Memorandum of Law

Intervention in circuit court proceedings should be “liberally allowed.” Nat’] Wildlife

Fed’n, Inc. v. Glisson, 531 So. 2d 996, 998 (Fla. Ist DCA 1988) (citing Miracle House Corp. v.
Haige, 96 So. 2d 417, 418 (Fla. 1957)). Florida Rule of Civil Procedure 1.230 provides that

 

“[a]nyone claiming an interest in pending litigation may at any time be permitted to assert a right

by intervention.”.

No party will be prejudiced by intervention in this proceeding. Nor will the proceeding be
delayed. Indeed, this proceeding has only just begun—Plaintiff’s complaint was filed a week ago.
The existing respondents have not filed responsive pleadings. The motion to intervene is timely
and should be granted without restriction. Cf. Nat’] Wildlife Fed’n, 531 So. 2d at 998 (permitting

intervention when “[d]iscovery was still underway and the pleadings had not yet closed”).

Huminski has a Substantial Legal Interest in this Litigation

For an applicant’s interest in the subject matter of the litigation to be cognizable under
Federal Rule 24(a)(2), it must be “direct, substantial and legally protectable.” U.S. Army Corps
of Eng’rs, 302 F.3d at 1249; see also Chiles v. Thornberg, 865 F.2d at 1212-13 (noting that the
focus of a Rule 24 inquiry is “whether the intervenor has a legally protectable interest in the
litigation.”). The inquiry on this issue “is ‘a flexible one, which focuses on the particular facts
and circumstances surrounding each [motion for intervention].’” Chiles, 865 F.2d at 1214
(quoting United States v. Perry Cnty. Bd. of Educ., 567 F.2d 277, 279 (Sth Cir. 1978)).

Huminski has a legally protectable interest in this litigation as a party impacted as
greatly, or more so, by the State of Florida’s retaliatory zeal to silence speech based upon
discriminatory or viewpoint based criteria inconsistent with views of the current administration.
Huminski’s speech, critical of government, is core protected political expression — dissent,
afforded the highest level of First Amendment protection.

The Court orders issued in State v. Huminski have the same chilling effect upon
Huminski’s speech that the speech prohibitions foisted upon the Plaintiff have — retaliation and
silencing of speech that the government disagrees with or finds distasteful and not consistent
with views of DeSantis. Huminski’s speech prohibition will linger in perpetuity. Plaintiff’s

success in this matter, or lack thereof, will create stare decisis that will impact Huminski’s

12

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 13 of 25

redress concerning his similar retaliatory constitutional deprivations which includes the threat
of incarceration for contempt if he merely communicates with any State of Florida government

entity in perpetuity. More concisely, just service of this paper runs afoul of the Gag Order.

The Disposition of the Instant Litigation May Impair Huminski’s Ability to Protect his
Interest

Huminski’s ability to protect his substantial legal interest would be impaired absent
intervention. Federal decisions interpreting and applying the provisions of the First Amendment,
Due Process and Equal Protection are an important enforcement tool related to the Plaintiff and
Huminski’s claims concerning the discriminatory and retaliatory silencing of speech and
content-related silencing of speakers, i.e. speech critical of government. Huminski’s interests in
this appeal align with the interests of Plaintiff.

The outcome of this case, including the potential for further appeals or writs by existing
parties or proceedings below after a remand, implicates stare decisis concerns that warrant
Huminski’s intervention. See Stone v. First Union Corp., 371 F. 3d 1305, 1309-10 (11th Cir.
2004) (recognizing that potential for a negative stare decisis effect “may supply that practical
disadvantage which warrants intervention of right”) (citing Chiles, 865 F.2d at 1214); see also

United States v. City of Los Angeles, 288 F.3d 391, 400 (9th Cir. 2002) (holding that amicus

curiae status may be insufficient to protect the rights of an applicant for intervention “because

 

such status does not allow [the applicant] to raise issues or arguments formally and gives it no
right of appeal”). While the existing parties to the litigation will not be prejudiced by

Huminski’s intervention, Huminski will be prejudiced if his request for intervention is denied.

The Existing Parties Do Not Adequately Represent Huminski’s Interests

Intervention is favored because of inadequate representation of the proposed
intervenor’s interest by existing parties to the litigation because the background facts present a
slightly different approach to the same legal issue — out of control governmental censorship and
retaliation for core protected political expression. This element is satisfied if the proposed
intervenor “shows that representation of his interest ‘may be’ inadequate.” Chiles, 865 F.2d at
1214 (quoting Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n. 10 (1972)). The
burden on the proposed intervenor to show that existing parties cannot adequately represent its
interest is “minimal.” Stone, 371 F.3d 1311;U.S. Army Corps of Eng’rs, 302 F.3d at 1259
(citing Trbovich,404 U.S. at 538 n.10). Any doubt concerning the propriety of allowing

13

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 14 of 25
intervention should be resolved in favor of the proposed intervenors because it allows the court
to resolve all related disputes in a single action. Loyd v. Ala. Dep’t of Corr., 176 F.3d 1336,
1341 (11th Cir. 1999); Fed. Sav. & Loan Ins. Corp. v. Falls Chase Special Taxing Dist., 983
F.2d 211, 216 (11th Cir. 1993). Certainly the Plaintiff does not face prosecution or
incarceration that Huminski faces bolstering Huminski’s request for relief and intervention
because liberty interests are at stake and Huminski has already been incarcerated for his “speech
crimes” in State vy. Huminski.

Huminski's interest is in the enforcement of the First Amendment, Due Process and
Equal Protection and to advance the public interest in eliminating speech discrimination and
prohibitions in the context of a court order unlike the claims of the Plaintiff that do not involve
the perpetual speech prohibition being set forth in a Court order that can lead to incarceration
pursuant to common law contempt. Huminski’s First Amendment chilling and deprivation is
slightly more despotic and egregious as his prospective speech can result in contempt and
incarceration in perpetuity if he dares communicate with the entire government of Florida or
merely serve a court paper on a governmental entity. This matter creates a First Amendment
Free Zone akin to Huminski v. Corsones, 396 F3d 53, 90 (2nd Cir 2005) concerning any and all
communication with the government of Florida — incarceration. The mechanism used in
Corsones was a Notice Against Trespass for State Court lands very similar to the service
prohibition of the Gag Order. Manipulation and obstruction of the operation of the justice
system is the common theme.

This case mirrors the “First-Amendment-free-zone” spoken of in Corsones. id. At 93,

“The Notices Against Trespass in effect prohibit indefinitely any and all expressive
activity in which Huminski might want to engage in and around Rutland state
courthouses. These notices are thus pervasive enough to be viewed as creating a "First-
Amendment-Free Zone" for Huminski alone in and around the Rutland courts. The
defendants’ singling out of Huminski for exclusion, thereby permitting all others to engage
in similar activity in and around the courts, suggests to us that the trespass notices are not
reasonable. Such broad restrictions are generally frowned upon’ even in nonpublic
forums. Cf. Bd. of Airport Comm'rs vy. Jews for Jesus, Inc., 482 U.S. 569, 575, 107 S.Ct.
2568, 96_L.Ed.2d 500 (1987) ("We think it obvious that ... a ban [on First Amendment
activities at an airport] cannot be justified even if [the airport] were a nonpublic forum
because no conceivable governmental interest would justify such an absolute prohibition
of speech.").”

Huminski, now faces a slightly different zone of speech exclusion — any and all speech
directed to the entire government of the State of his residence or any State of Florida governmental

entity therein.

14

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 15 of 25

The Eleventh Circuit has established a two-part test to guide the Court’s discretion as to
whether a party may intervene pursuant to Rule 24(b)(2): the applicant must show that “(1) his
application to intervene is timely; and (2) his claim or defense and the main action have a
question of law or fact in common.” Chiles, 865 F.2d at 1213 (citing Sellers v. United States,
709 F.2d 1469, 1471 (11th Cir. 1983)).

As discussed above, Huminski's application for intervention in this litigation is timely
and Huminski's participation would neither unduly delay the proceedings nor prejudice the
adjudication of the rights of the original parties. Huminski’s participation will be more akin to
an amicus participant. Additionally, Huminski's claims against the defendant share common
questions of law with Plaintiff’s claims, and rest upon common questions of law related to
censorship and constitutional issues flowing from content-based censorship and retaliation
causing a chilling effect. Plaintiff’s claims differ slightly because Huminski suffers the threat of
punishment for engaging in expression with contempt, a looming threat of prosecution and
incarceration for contempt chills Huminski’s speech and outlaws service of this paper upon State
of Florida entities. Huminski’s First Amendment peril and associated punishment is perpetual
imposing a lifelong chilling effect upon speech/expression.

By avoiding multiple lawsuits/appeals and coordinating discovery, intervention will lend

efficiency to further proceedings.

Huminski understands all too well why the United States has the highest incarceration rate in
the world. Government officials are willing to engage in felonies to silence and attack targeted
persons, create false crimes with felonies like forgery/official misconduct perpetrated by Amira Fox,
Esq. and then the felonies are supported by high ranking executives such as Governor DeSantis

related to his conduct in 2021-2022.

EX PARTE TEMPORARY RESTRAINING ORDER

The federal Rules mandate service of this paper upon the various parties. The Gag Order
undermines and obstructs the Rules governing conduct before this Court with regard to service and
constitute criminal intervention/obstruction with the orderly operation and functioning of the federal
(and State) Courts. The Gag Order is contempt concerning the Rules and procedures adopted by the
Federal Courts. It also embodies a continuing offense, civil and criminal.

Very little else needs to be mentioned concerning the obstruction of these proceedings by
State edicts/orders, however, the prior restraint Gag Order prior restraint is the epitome of

governmental butchering of the First Amendment. Because the Gag Order obstructs and over-rules

15

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 16 of 25
the Federal Rules of Civil Procedure related to service of Court papers, it should be enjoined as a
deliberate method to interfere and obstruct the Federal courts and it is per se contempt of this Court.

The U.S. Supreme Court ruled on a prior restraint issue in Near v.Minnesota, 283 U.S. 697
(1931). In that case the Court held prior restraints to be unconstitutional, except in extremely
limited circumstances such as national security issues. The State of Florida has not specified what
legitimate governmental interest supports the lifetime Gag Order preventing Huminski from
serving this paper in this litigation to State of Florida entities/attorneys.

The perpetual Gag Order is not narrowly tailored to a legitimate governmental interest that
would support obstruction of justice concerning service in this matter and the over-breadth of the
Gag Order is stunning and would shock the consciousness of an ordinary person. It is the very
incarnation of evil police state tactics intending to silence any and all core protected political
expression and dissent. In historical context, one can think of many oppressive governments that
have adopted such positions against speech critical of government.

Concerning the governmental regulation of speech, "the method and extent of such
regulation must be reasonable, that is, it must be the least intrusive upon the freedom of expression
as is reasonably necessary to achieve a legitimate purpose of the regulation.” United
States v. O'Brien, 391 U.S. 367, 377 (1968)). The issue here is what is the “legitimate purpose” of
the State of Florida concerning the Gag Order and DeSantis’ zeal to protect the Gag Order.

Restrictions on protected speech are allowed, provided the restrictions "are justified without
reference to the content of the regulated speech, that they are narrowly tailored to serve a
significant governmental interest, and that they leave open ample alternative channels for
communication of the information." Clark v. Community for Creative Non-Violence, 468 U.S.
288, 293 (1984); see Heffron v. International Society for Krishna Consciousness, Inc., 452 U.S.
640, 648 (1981) (quoting Virginia Pharmacy Bd. v. Virginia Citizens Consumer Council, Inc., 425
U.S. 748, 771 (1976)). Huminski has no other “channel” to serve (i.e. communicate with) the
various State of Florida entities party to this case and the Gag Order has zero tailoring to a
“significant governmental interest”. The gag order is the raw abuse of police state powers
intending to chill dissent.

Huminski adopts the authorities cited in Plaintiff’s Complaint counts Four and Five with the

same force and effect as if more fully set forth herein. A true and correct Gag Order excerpt,

CONCLUSION/RELIEF REQUESTED

For the foregoing reasons, the Court should grant the Motion to Intervene (i) as a matter of

16

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 17 of 25

right pursuant to Rule 24(a)(2), or, in the alternative, (ii) permissively pursuant to Rule 24 (b) and
issue a Temporary Restraining Order that would allow service of this paper absent the threat of
prosecution and potential incarceration for contempt of the Gag Order prior restraint targeting
service in this matter.

The various State of Florida entities-parties to this matter currently have a duty to report
violations of the Gag Order to law enforcement, particularly State’s Attorney Amira Fox, the
architect of the Gag Order and forgeries used to initiate State v. Huminski.

This Court should consider invoking it’s contempt powers to preserve the integrity of court
matters and to discourage obstruction of justice related to the Gag Order prior restraint prohibiting

service on some of the parties to this matter.

17

 
 

 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 18 of 25
orida this 1" day of May, 2023.

  

 

  
 

 

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Scat timinski,pro se

P.O. Box 353820
Palm Coast, FL 32135
(239) 300-6656

S_ Huminski@live.com

SWORN AND SUBSCRIBED to before me this 1* Day of May, 2023 in Flagler County, Florida.

eae ELENA VUSCAN
'y, KF. Notary Public - State of Florida

JE: Commission # GG 956220
“Sores My Comm. Expires Feb 6, 2024
"Bonded through National Notary Assn.

 

5.1. 208%

 

Notary Exp.

Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case. Service upon parties prohibited by Gag Order
have not been served because of the looming threats of prosecution and incarceration embodied
in the Gag Order.

Dated this 1* day of May, 2023

 

 

Scott Huminski

EXHIBIT “A”

18

 
 

case IIGPOIRS- A WVAMEF Rd Lee County ClerkofbGourts. 19 of 25

 

 

 

 

 

 

 

 

 

ORDER / COMMITMENT FORM COUNTY COURT, LEE COUNTY, FLORIDA
17-MM-000815 State of Florida vs Huminski, Scott A —— Previously FTA for assigned Judge
Felany Reduction Juvenile
1 CONTEMPT OF COURT CIRCUIT OR COUNTY No Charge - No Level §900.04
Citation Issuing Agency Court Date Court Clerk, |
OTH OW 16/2048 Ch |
Coeur
Attorney: AT Huminsts, Scott A
APPEARANCE PLEA ADJUDICATION VERDICT DISPOSITION
Failed to Appear Guilty Withheld by Judge 2 Guilty by Judge Acquitted
"Present wie Attomey 2” Not Guilty 07 _ Adjudicated Guilty Not Guilty by Judge Node Pros
Present wi Altomey Nolo Contender Withheld by Clerk Guilty by Jury No Information
Present by Attomey Lesser Offense Not Guilty by Jury Dismissed
Present wi Interpreter Mistnal Adm. Dismissed
interpreter Services Requested Degree Merge & Dismiss
Language Statute
Vict Other
SENTENCE
Probation Keparting) (> _ ohaary
Consecutive/Concurrent with

 

One Time Cost $ Waive COS §
f<2_ Repart to Prob Upon Release Within
Probation may terminate early when conditions are met

May Transfer Probation to

 

 

 Jaltime tS ( 6Byamrvy

 

 

 

 

 

 

 

 

____. May Report to Probation and/or Instruct by Mai ee, CONSECUTIVE/Concurrent with
Ignition interlock Device DO/MMIYY Weekend Time Fri 6pm to Sun Spm
_____ Impound Vehicle for days as a cotdition of oreo BEGINNING
Probabon unless statutory conditions are met Day Work Program* Days
Statutory Exception to Vehicle impound ___ Minimum day(s} a week consecutive weaks
___. Bes Not Own Vehicle Shared Vehicle ____. Credit Time Served DOMMIYY
__ Other. Credit Time Served Applied to Straight Time
Random _ Alcohol ss Drug Screenings & Urinatysia ___ Weekends __ Day Work Program _ /
at own expense - No pasitive/diluted samples: ____ Defendant Remanded © Sentence Suspended -1 OAS
No Possession or Consumption of Alcohol of lilict Substances _____ DL Suspended/Revored DDMM/YY
DUI School - Follow recommendations‘Phase TH Spec. Conditions - Drive for Work/Business purposes
School to Determine which Phase ____ Show Valid Onver's License withm
__. Sign up win days Produced Valid Driver's License in Court
Traffic School 4 Hr / Beir / 12 Hr Community Service Hours and/or Pay $
~~. Afiend and Complate Lee Memonal High Risk ____ Must! complete hours of community service
Oriver’s Course or Victim Impact Panel before buyout
Psychiatric Evaluation — Evaluate for Show Proof of Com. Service to Clark wiin
Alcohol'Substance Abuse/Anger Mgmt and follow ____. Stay Away from arrest locaton
recommendations of... No Contact with victim .
Sign up for Batterer's Intervention Program w/in 30 Days State Orelly Amends Charge in Open Court
Attend & Complete Anti-Theft Mile Post Program _.. Fotmal Filing of Informaton is Waived
Attend & Completa Program Information Filed in Open Court
DNA Testing Collected in Court at LCL Successfully Completed Pretrial Diversion Program
Other Testing HIV STD aw. Sudical Warning
Defendant Advised of Habitual and/or Felony Status wm Defendant Accepted DV Biversion
Date Continued to WANDATORY CONRT APPEARANCE
For AR BS TR DA Dd DT RH
Time AM/PM Court Room Speedy Trial Waived Speedy Trial Tolled
HAS MEG ZMG DSG JMG TPP ABH

 

 

rt to PTS/Sereen for Public Gefender

Defendant/Attorney Dats

Fanure yo comply with any part of thes order snafl reauitin a bénch wartant being issued for your arrest and/or suspension of yout driver's koense privilege

If you are a person with a disability who needs any accommodation in order to Participate in
this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
Please contact Brooke Dean, Operations Division Manager, whose office is located at Lee
County Justice Center, 1700 Monroe Street, Fort Myers, Florida 33901, and whose telephone
number is (239) 533-1771, at least 7days before your scheduled court appearance, or
immediately upon receiving this notification if the time before the scheduled appearance is
less than 7 days; if you are hearing or voice impaired, call 711. Rn Se

 

 
Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 20 of 25

 

ORDER / COMMITMENT FORM COUNTY COURT, LEE COUNTY, FLORIDA
17-MM-000815 State of Florida vs Huminski, Scott A ——~ Previously FTA for assigned Judge
Felony Reducbor Juvenile
1 CONTEMPT OF COURT CIRCUIT OR COUNTY No Charge - No Level §900.04
Citation Issuing Agency Court Date Court Clerk
OTH OW162018

FINE ASSESSMENTS (stannes indicated)
7 Fine § q ~ (775.083)
Le «8% Surcharge § “a Sy (938.04)

MANDATORY ASSESSMENTS

Court Costs (indude Crime Stoppers & Crime Prevention)

(318.18 / 775.083 / 938.01 / 938.03 / 938.05 / 938.08 / 939.185)
20.00 Other §

if Orderad Under - Reason:

f

 

 

$33.00 Certain Traffic Offense Court Cost (318) 17 / 318.18)
$135.00 DU! Court Costs (938.07)

$70.00 Reckdess Driving Court Costs (318.18 /316.192)
$65.00 Racing Court Costs (318.18)

$5.00 Leaving the Scene Court Costs (316.061)

$195.00 BU! Court Costs (938.07 / 327.35}

$201.00 Domestic Violence Trust Fund (938.08)

$151.00 Rape Crisis Trust Fund (938.085)

$151.00 Crimes Against Minors (938.10)

HTL TT TTT

 

 

 

 

 

$5000.00 Civil Penalty (796 07)
$40.00 Contested By Nonprevailing Party Fee (34,645)
DISCRETIONARY ASSESSMENTS
$100.00 FOLE Trust Fund/Statewsde Crime Lab (938 25)
Investigative Fee $ 19
to__FOLE FMP oicso ._ Statewide Pros.
— Other (938.27)
Worthless Check Diversion Fee § (832.08)
Diversion Cost of epennen $ (948.09)
Pay Within D
Upon release from in-Custody
MOTION HEARINGS
Revoke Bond Reinstate Bond

 

SeUReduce/inarease Bond to
_____ Suppress Dismass Continue
Expunge/Seal (All outstanding monatary obligations must be
paid to the Clerk's office before the case is officially
expunged/sealed.)
_... Withdraw Plea
Withdraw as Counsel
Modify No Contact Order Lit No Contact Order
Other

 

 

 

Moton Result (Circle One). Granted Denied Reserves Ruling

State & Defanse Stipulate to Suppress the Breath Test Results
State Amends information from BAL of .15 of Above to 08
Clerk to Update Case w/ Defendarts Information Listed
Ye A oy

Pre-Lohtehes fnvestisattin Entenate™

      
 

 

Mir. CASE

  
 

 

 

ATTORNEY FEES & SURCHARGES
$50.00 Cost of Prosecution (938.27)
$50.00 Public Def Application Fee (27,52)
Addmonal Application Fees $
(Must be addressed on the record)
Defense Attomey Costs al Conviction (938 29)
_... $50.00 __ Other $
RESTITUTION
Minimum Payment of $
to
__. As a Condition of Probation
Resttution Ordered § to

 

 

per Month

 

 

 

 

 

Restitution Reduced te Judgment
Court Orders Restitution - Reserves on Amount

DISPOSITION OF MONET. OBLIGATIONS
oar May Conve! ost All o¢ In Part to Community
Service at $10 per Hour

—~ Defendant Advised of Notary Requirement for Community
Service (For Non-Probationary Sentences)
Credit Time Served for Fines/Costs/Fees
Monetary Obligations Referred to Clerk of Court Collections
Monetary Obligations Reduced to Judgment Previous Only
Monetary Obligations (VOP)_——s Carried Forward
Defendant to sign up for Payment Plan
First Payment Que within 30 Days
Waive all Additionat Mandatory Costs

WARRANTS/BONDS
BVW/D6 Ordered Galance $
issue Bench Warrant
Bond Estreature $
Non-Comphance/Non-Appearance §
Sel Aside BYVIDE $

Set Aside Estreature $

Cash Bond to pay Fine/Cost including

Retum Cash Bond to Depasitor

 

 

 

MM/ODIYYYY

 

 

 

 

 

Conflicting Appearance Date Addressed in Court
REVOCATION HEARINGS
Defendant Pleas Guity/Admits Allegations
Defandant Pleas Not Guilty/Denies Allagations

 

 

 

 

Adjudicated Guilty Adjudication Withheld
Probation Reinstated

Probation Modified

Same Terms and Conditions to Apply

ct

  

 
  

Fuil/Partal

H probation has not been imposed. you musi pay your financial obligation within the time allowed by the Judge of sign up for the payment plan option offered by
the Clerk of Court. if sentenced to Probation, you must adhere to standards as directed.

Failure to compty with any part of this order may resutt in|@ suspension of your driver licanse privilege and/or warrant being issued for your arrest (322.245) .
Unoaid financial obligations sill remaining 90 days after payment due date will be referred by the Clerk of Court to a collectron agency and an additional! fee of up

 

to 40% of the outstanding balance awed will be added atithat time (28.246)
Mandatory assessments are imposed and shall be included in the judgment without regard to whether the assessment was announced in Open court.

Asst. State Atormey WISE. Bar No. tersce-3 / AAT Date
lam Date

Judge James R Adams

Pe oss

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Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 21 of 25

EXHIBIT “B”

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21

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 22 of 25

Criminal complaint:

DeSantis, a Yale and Harvard law graduate and Guantanamo_"JAG" may have
engaged in Obstruction of Justice or accessory after-the-fact concerning a lifetime

threat prohibiting the service of court documents to the entire State of Florida
government.

The communication prohibition was set forth to DeSantis in State court litigation
in 2021 and 2022 whereby DeSantis was a defendant,

* Huminski v. DeSantis, Et al., Florida 11th Circuit Court, 21-CA-18435 (lead
defendant State of Florida)

¢ Huminski v. DeSantis, Et al., Florida 3rd District Court of Appeal, 3d21-1920

The Complaint in 21-CA-18435 contains the following text from a Florida Supreme
Court filing along with per se evidence of prosecutorial forgery (pages 22-35 in link)
of a court order used to initiate a contempt case (State v. Huminski) ,

Certificate of Service

Copies of this document and any attachment(s) were NOT served upon the State of
Florida because gag orders of Judge Adams in 17-mm-815 prohibit communication
with the State of Florida under penalty of further incarceration and prosecution.

 

Dated this 8» day of June, 2020.

-/sf- Seott Huminski

 

Seott Huminski

This excerpt is grounded upon the following excerpt from a court order in State v.
Huminski, 17-MM-815, forbidding communication, including service of court papers
upon Florida Attorney General Ashley Moody which is part of the record in the
aforementioned 2021-2022 State Court cases against DeSantis,

      
    

= tenw Vpaate Case wi Defendants Information Listed y —.., COS Fees Due & Owag g in the amount §

i

ee eae fe CASE sme

This perpetual threat memorialized in the above court order prohibiting any
communication with the entire State of Florida government (pages 63-64 in link) -
FOR LIFE - is what DeSantis obsessively defended and sought to make permanent
in 2021 and 2022.

22

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 23 of 25

DeSantis also defended the forgery by State's Attorney Amira Fox in his 2021-
2022 defense filings that ultimately maintained the perpetual gag order
protecting the entire State of Florida government from communication and service
of court papers and perpetuated the fruits of the prosecutorial forgery of a court
order enriching the State of Florida treasury.

 

During this time period, notable is DeSantis' removal of State's Attorney Andrew
Warren for his positions on LGBTQ and abortion issues while the governor was
concurrently supporting the forgery of a Court order by G.O.P. State's Attorney
Amira Fox that she used to initiate contempt case State v. Huminski and ultimately
secured a lifetime speech prohibition gag order intending to obstruct the service
of process upon Florida government attorneys including herself and the Florida
Attorney General.

The cases that were obstructed by DeSantis’ support, defense and cover-up of the
lifetime speech prohibition intending to foil service upon Florida Attorney General,
Amira Fox and government attorneys are,

1. The aforementioned 2021-2022 cases, Huminski v. DeSantis (lead defendant -
State of Florida)

2. Andrew Warren v. DeSantis, Florida Supreme Court, SC23-247

3. Andrew Warren v. DeSantis, U.S. 11th Circuit Court of Appeals, 23-10459,
Atlanta, GA

4. Equality Florida v. DeSantis, U.S. District Court (Northern District of Florida),
4:22-cv-00134-AW-MJF

5. Thomas Kennedy v. DeSantis, U.S. Distict Court (Souther District of Florida), 1:22-
cv-21827-KMW

6. Andrew Warren v. DeSantis, U.S. District Court (Northern District of Florida), 4:22-
cv-00302-RH-MAF

As a proximate result of the above gag order prohibiting speech with the entire
government of Florida supported wholeheartedly by DeSantis and Florida Attorney
General Ashley Moody (DeSantis' attorney on the cases) in 2021-2022, service of
court papers in the above listed 7 State and Federal court cases were obstructed
in this conspiracy to violate rights and obstruct justice between DeSantis and his
attorney general. Serious official felonies under Federal and State law. The
impact upon the federal case in Georgia brings in an interstate element to the
crimes.

23

 
 

Case 4:23-cv-00163-MW-MJF Document 23 Filed 05/03/23 Page 24 of 25

Where was DeSantis’ ivy-league law education in 2021-2022 concerning the
crimes of forgery, Obstruction of Justice and the obvious and implicit threat of
prosecution and incarceration for contempt of a court order if the perpetual
speech prohibition is violated?

In a light most favorable to DeSantis, perhaps the above content does not set
forth an accessory after-the-fact concerning felony Obstruction of Justice or
forgery. The inquiry then becomes why did DeSantis remove a progressive
prosecutor, Andrew Warren, for his positions on LGBTQ and abortion issues while,
at the same time, appointing Amira Fox to positions after her forgery of a Court
order and per se Obstruction of Justice related to Federal and State court matters
that pleased the Governor?

A strong guid pro quo exists between DeSantis and his favorite GOP prosecutor,
Amira Fox, who protected DeSantis' first major law enforcement appointee,
Broward Sheriff Tony, from perjury charges. Much more than party affiliation is
behind DeSantis’ motivations related to the forgery of a court order by Amira Fox
and the gag order that was a product of the forgery. A fruit of a very poisonous
tree.

 

Amira Fox's assistant in charge of the forgery and gag order request committed
suicide 30 days after this corruption was detailed in federal court in Equality Florida
v. DeSantis. Amira Fox has admitted full responsibility for these official crimes in her
own words here and here. Not coincidently, Fox's deceased assistant who obeyed
her order to forge court orders was also the prosecutor who let DeSantis'
appointee, Broward Sheriff Tony, off the hook for obvious perjury.

24

 
 

.S. POSTAGE

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5 O61 3960804

SCOTT HUMINSKI
PO BOX 353820
PALM COAST FL 32135-3820

wz, U.S. DISTRICT COURT
~ 1 NORTH PALAFOX STREET
Ji; PENSACOLA FL 32502

USPS TRACKING® NUMBER

9516 4066 9811 3121 6095 83

 
